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                              UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON



VICKY LYNN                                                         Case No.: 3:19−cv−00397−JR
   Plaintiff,

v.

ALEXANDER STROSS
   Defendant.


                             Discovery and Pretrial Scheduling Order

To facilitate discovery and the effective management of this case, the Court orders that:

1.    Discovery and Pretrial Deadlines: Unless otherwise ordered by the Court, the parties shall,

      a.    within 120 days of this Order:
            i.   File all pleadings pursuant to Fed. R. Civ. P. 7(a) and 15;
            ii. Join all claims, remedies, and parties pursuant to Fed. R. Civ. P. 18 and 19;
            iii. File all pretrial, discovery, and dispositive motions;
            iv. Complete all discovery; and
            v. Confer as to Alternate Dispute Resolution pursuant to LR 16−4(c).

      b.     within 150 days of this Order:
             i.   File a Joint ADR Report pursuant to LR 16−4(d); and
             ii. File a Proposed Pretrial Order pursuant to LR 16−5.

2.     Corporate Disclosure Statement: In accordance with Fed. R. Civ. P. 7.1 and LR 7.1−1, any
non−governmental corporate party must file a corporate disclosure statement concurrently with its
first appearance (See also LR 83−9).
3.    Initial Conference of Counsel for Discovery Planning:

     a.     Except in cases exempted under Fed. R. Civ. P. 26(a)(1)(B), upon learning the identity of
counsel for Defendant(s), counsel for the Plaintiff(s) must initiate communications with counsel for
Defendant(s).

       b.    All counsel must then confer as required by Fed. R. Civ. P. 26(f) within thirty (30) days
after a defendant files a responsive pleading or a motion under Fed. R. Civ. P. 12. (See LR 26−1.)

      c.    Counsel should also discuss their client's positions regarding:

             i.    Consent to a Magistrate Judge; and
             ii. Alternate Dispute Resolution options. ADR options include judicial settlement
conferences or Court−sponsored mediation with highly qualified lawyer−mediators. Court−sponsored
mediators agree to conduct mediation without cost to the Court or parties for four (4) hours, exclusive
of preparation and travel time to and from the agreed location for mediation. Parties are encouraged to
visit the Court's website for additional ADR information, including mediator biographies,
subject−matter expertise, and contact information.
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      d.    If counsel for all of the parties agree to forgo the initial disclosures required by Fed. R.
Civ. P. 26(a)(1), they shall file with the Court the Fed. R. Civ. P. 26(a) Discovery Agreement form
issued with this order (See LR 26−2). Whether or not the parties agree to forgo the initial disclosures,
they may seek discovery once the initial conference of counsel for discovery planning contemplated
by Fed. R. Civ. P. 26(f) has occurred. (See LR 26−1.)

4.    Rule 16 Court Conference for Scheduling and Planning: Counsel for Plaintiff(s) and for
Defendant(s) must, during or promptly after the conference of counsel referred to in section 3 above,
contact the assigned judge's courtroom deputy clerk to schedule a Rule 16 Conference for scheduling
and planning. (See LR 16−2.)

At the Rule 16 Conference, the parties must be prepared to discuss discovery, whether there is consent
to a Magistrate Judge, and any scheduling or other issues, including any requested modifications to
the initial scheduling order set forth in section 1 above, and possible submission of trial exhibits
electronically (See LR 5−7(b)).

5.    Service of this Order: Counsel for the Plaintiff (the "filing party") must serve this order and all
attachments upon all other parties to the action. (In cases removed to this Court, the removing
defendant is considered the "filing party.") (See LR 3−5.) A pro se filing party is required to serve this
order and all attachments upon all other parties to the action.

DATED: March 18, 2019                                 MARY L. MORAN
                                                      Clerk of Court

                                                 by: /s/ J. Norgate
                                                      J. Norgate, Deputy Clerk
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                              UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON



VICKY LYNN                                                       Case No.: 3:19−cv−00397−JR
   Plaintiff,

v.

ALEXANDER STROSS
   Defendant.


                           Fed. R. Civ. P. 26(a)(1) Discovery Agreement

      Pursuant to LR 26−2, I state that the parties who have been served and who are not in default
have agreed to forgo the disclosures required by Fed. R. Civ. P. 26(a)(1).

DATED:


                   Signature:

          Name and OSB ID:

             E−mail Address:

                  Firm Name:

            Mailing Address:

              City, State, Zip:

        Parties Represented:
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                                          U.S. District Court − Oregon
                                    Civil Case Management Time Schedules

                    Event or Requirement                    Time Frame                           Comment
 Local Rule
                 Discovery and Pretrial           Issued by the Clerk's Office at      Required to be served on all
LR 16−1(d)       Scheduling Order (with           new civil case initiation, along     parties by the filing party (See
                 attachments)                     with the summonses                   LR 3−5)
                                                  Within 30 days of a defendant
                 Initial Conference for
LR 26−1                                           filing a responsive pleading or a Held between the parties
                 Discovery Planning               motion under Fed. R. Civ. P. 12
                                                  Scheduled by the assigned            Affirmative duty on all
                                                  judge after the required LR          counsel to contact the
LR 16−2          Rule 16 Conference               26−1 initial discovery planning      assigned judge's courtroom
                                                  conference                           deputy (See LR 16−2(a))
                                                                                       Parties must confer with other
                                                  Within 120 days from the date
                 ADR Conference                                                        attorneys and unrepresented
LR 16−4(c)                                        the Discovery and Pretrial
                 Requirements                                                          parties to discuss ADR
                                                  Scheduling Order is issued           options
                                                  Within 120 days from the date        Required in cases assigned to
                 Joint Status Report              the Discovery and Pretrial           Judge Jones
                                                  Scheduling Order is issued
                                                  Unless otherwise ordered by the Discovery deadlines are set
                                                  Court, within 120 days from the forth in the Discovery and
LR 16−2(e)       Completion of Discovery          date the Discovery and Pretrial Pretrial Scheduling Order
                                                  Scheduling Order is issued
                                                  Within 150 days from the date        The parties must file a Joint
LR 16−4(d)       Joint ADR Report                 the Discovery and Pretrial           ADR Report
                                                  Scheduling Order is issued
                                                  Unless otherwise modified            The Joint Proposed Pretrial
                                                  pursuant to LR 16−5(a), within       Order filing deadline is
LR 16−5          Joint Proposed Pretrial Order    150 days from the date the           established in the Discovery
                                                  Discovery and Pretrial               and Pretrial Scheduling Order
                                                  Scheduling Order is issued
                 Notice to the Court that the                                          Plaintiff's attorney (or the pro
                                                  Within fourteen (14) days after
                 Parties Are Unable to Select a                                        se plaintiff) is responsible for
LR                                                entry of a court order referring a
                 Court−sponsored Mediator                                              notifying the assigned judge
16−4(f)(2)(B)                                     case for Court−sponsored
                 from the Court's list of                                              who will then designate a
                                                  mediation
                 mediators                                                             mediator
                                                  Not later than seven (7) days        Plaintiff's attorney (or the pro
LR 16−4(h)(1) Notification of Private ADR         after the conclusion of private      se plaintiff) is responsible for
              Results                             ADR proceedings                      notifying the court
                                                  Not later than seven (7) days        Court−sponsored mediator is
LR 16−4(h)(2) Report of Court−sponsored           following the conclusion of the      responsible for notifying the
              Mediator                            mediation if no settlement is        court
                                                  achieved
